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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF AMERICA

PILED
DEC 13 2013

Clerk, U.S. Courts
Distn'ct Of Montana
, Bi|lings Division

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

 

UNITED sTATEs OF AMERICA,
Plaimiff,

vs.

LARRY WAYNE PRICE JR., aka
L.J. Price,

Defendant.

 

CR 18-85-BLG-DLC

SUPERSEi)ING INFORMATION

WIRE FRAUD

(Counts I-III)

Title 18 U.S.C. § 1343

(Penalty: 20 years imprisonment, $250,000
fine, and three years supervised release)

CONSPIRACY TO COMMIT MONEY
LAUNDERING

(Count IV)

Title 18 U.S.C. § 1956(h)

(Penalty: 20 years imprisonment, a fine of
$500,000 or twice the value of the property
involved in the transaction, whichever is
greater, and three years supervised release)

chMlNAL FoRFElTURE
Title 18 U.s.C. § 981(a)(1)(A) and (C)
Title 28 U.s.c. § 2461(¢)

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THE U.S. ATTORNEY CHARGES:
COUNTS I-III
WIRE FRAUD
THE SCHEME TO DEFRAUD - NINETY M
That beginning on or about March 29, 2017, and continuing thereafter until
on or about January 9, 2018, at Billings and within Yellowstone County, in the
State and District of Montana, and elsewhere, the defendant, LARRY WAYNE
PRICE JR., aka L.J. Price, devised and executed a material scheme and artifice to
obtain money by means of material false and fraudulent pretenses, representations,
and promises. Specifically, the defendant, LARRY WAYNE PRICE JR., aka
L.J. Price, while serving as the manager of Ninety M, L.L.C., a Wyoming
company engaged in coal mining activities (“Ninety M”), falsely solicited
approximately $13,500,000 from the owners of Ninety M for the purchase of real
property, mining equipment, and supplies knowing that a substantial portion of that
amount would not be used for the purchase of real property, mining equipment and
supplies, and instead would be misappropriated for Price’s personal use.
INTERSTATE WIRE
On or about July 3, 2017, at Billings and within Yellowstone County, in the
State and District of Montana, the defendant, LARRY WAYNE PRICE JR., aka

L.J. Price, for the purpose of executing the scheme described above, did

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knowingly cause to be transmitted in interstate commerce by means of wire
communications, an electronic transfer between an account at Summit Community
Bank in West Virginia and an account at Rocky Mountain Bank in Billings
Montana, which represented the transfer of approximately $3,990,000.00, all in
violation of 18 U.S.C. § 1343.
COUNT II
WIRE FRAUD
THE SCHEME TO DEFRAUD - THREE BLIND MICE

That beginning on or about October 6, 2016, and continuing thereafter until
on or about January 31, 2018, at Billings and within Yellowstone County, in the
State and District of Montana, and elsewhere, the defendant, LARRY WAYNE
PRICE JR., aka L.J. Price, devised a material scheme and artifice to obtain money
by false and fraudulent pretenses, representations, and promises. Specifically, the
defendant, LARRY WAYNE PRICE JR., aka L.J. Price, fraudulently induced the
owners of Three Blind Mice, LLC, a Wyoming company engaged in coal mining
activities, to loan him $7.5 million for the purchase and installation of equipment
related to coal mining, knowing there were no plans to purchase and install coal
mining equipment and that Price would misappropriate the funds for his personal

use and default on the loan.

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INTERSTATE WIRE

On or about October 6, 2016, at Billings and within Yellowstone County, in
the State and District of Montana, the defendant, LARRY WAYNE PRICE JR.,
aka L.J. Price, for the purpose of executing the scheme described above, did
knowingly cause to be transmitted in interstate commerce by means of wire
communications, an electronic transfer between an account at First Interstate Bank
in Casper, Wyoming and an account at Rocky Mountain Bank in Billings Montana,
which represented the transfer of approximately $2,500,000.00, all in violation of
18 U.S.C. § 1343.

COUNT llI
WIRE FRAUD
THE SCHEME TO DEFRAUD - SIGNAL PEAK ENERGY

That beginning on or about March 24, 2017, and continuing thereafter until
on or about January 31, 2018, at Billings and within Yellowstone County, in the
State and District of Montana, and elsewhere, the defendant, LARRY WAYNE
PRICE JR., aka L.J. Price, devised a material scheme and artifice to obtain money
by false and fraudulent pretenses, representations, and promises. Speciflcally, the
defendant, LARRY WAYNE PRICE JR., aka L.J. Price, fraudulently induced
Signal Peak Energy, a Montana company engaged in coal mining activities

(“Signal Peak”), to purchase equipment related to coal mining from Peter’s

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Equipment Company (“PEC”), a company operating in Virginia, knowing that
PEC Would not actually provide the purchased equipment to Signal Peak. PEC
then hinneled the money back to Price through a bank account in Montana
registered to 3 Solutions, LLC, an entity controlled by Price. This scheme
defrauded Signal Peak of approximately $2,396,134.00.
INTERSTATE WIRE

On or about March 30, 2017, at Billings and within Yellowstone County, in
the State and District of Montana, the defendant, LARRY WAYNE PRICE JR.,
aka L.J. Price, for the purpose of executing the scheme described above, did
knowingly cause to be transmitted in interstate commerce by means of wire
communications, an electronic transfer between an account at Stockman Bank in
Billings, Montana and an account at First Century Bank in Bluefield, West
Virginia, which represented the transfer of approximately $750,000.00, all in
violation of 18 U.S.C. § 1343.

COUNT IV

That beginning in approximately October 2016, and continuing until on or
about January 31, 2018, at Billings and within Yellowstone County, in the State
and District of Montana and elsewhere, the defendant, LARRY WAYNE PRICE
JR., aka L.J. Price, knowingly conspired and agreed With others to commit certain

offenses under 18 U.S.C. § 1956(a)( l )(B)(i), and knowingly conducted and

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attempted to conduct financial transactions affecting interstate commerce, which
transactions involved the proceeds of specified unlawful activity, that is wire fraud,
as more fully described in counts I-III, and further conducted the financial
transactions with the intent to disguise the nature, location, source, ownership, or
control of the proceeds of the specified unlawful activity, all in violation of 18
U.S.C. § 1956(h).
FORFEITURE ALLEGATION
Upon conviction of any offense set forth in this superseding information, the
defendant, LARRY WAYNE PRICE JR., aka L.J. Price, shall forfeit to the United
States, pursuant to 18 U.S.C. § 981(a)(1)(A) and (C) and 28 U.S.C. § 2461(c), any
property, real and personal, which constitutes and is derived from proceeds
traceable to said offense, and property, real or personal, involved in a transaction
or attempted transaction in violation of 18 U.S.C. § 1956 or any property traceable
to such property. The property includes, but is not limited to, the following:
- Lot l, Block 1, of Price Subdivision, in the City of Billings, Yellowstone
County, Montana, according to the official plat on file in the office of the
Clerk and Recorder of said county, under Document No. 3724345,
together with all buildings, improvements, fixtures, easements, and
appurtenances thereto;
- Lot 2, Block 1, of Price Subdivision, in the City of Billings, Yellowstone
County, Montana, according to the official plat on file in the office of the
Clerk and Recorder of said county, under Document No. 3724345,

together with all buildings, improvements, fixtures, easements, and
appurtenances thereto;

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- Lot 3, Block 1, of Price Subdivision, in the City of Billings, Yellowstone
County, Montana, according to the official plat on file in the office of the
Clerk and Recorder of said county, under Document No. 3724345,
together with all buildings, improvements, fixtures, easements, and
appurtenances thereto;

- Lot 4, Block 1, of Price Subdivision, in the City of Billings, Yellowstone
County, Montana, according to the official plat on file in the office of the
Clerk and Recorder of said county, under Document No. 3724345,
together with all buildings, improvements, fixtures, easements, and
appurtenances thereto;

- a 2017 Anthem 44B Class A Diesel RV, VIN 4VZAU1D92HC08412;

- a 2016 Quantum RS26 Class C Motorhome, VIN
1FDXE4F86GDC25523.

- 1071 Lodge Drive, Bastian, VA 24314, Parcel ID #74A22;

- 5875 Whispering Woods Drive, Billings, MT 59106, Tax ID : A30501;
- 3533 Ferncliff Road, Pulaski, VA 24301, Tax ID 092-007-0000-0008;
- 6957 Owens Road, Radford, VA 24141, Tax ID 075-002-0001-0017;
- 2017 Trailstar Boat Trailer, VIN: 4TM19GH18HB00102;

- 2017 Big Tex Trailer 14ET34SFGN, VIN: 16VEX3424F2000941;

- 2017 Trailstar Boat Trailer, VIN: 4TM13MU25HB001075;

- 2018 Load Rite Boat Trailer, VIN: 5A4JGGX25J2010168;

- 2017 Tracker, Hull ID No. BUJ31030E617;

- 2017 Ranger, Hull ID No. RGR12251A617;

- 2017 Tracker, Hull ID No. BU110087A717;

- 2017 Ranger, Hull ID No. RGR12251A617;

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- 2017 Sea Ray, Hull ID No. SERVl 829.1617;

- Jewelry purchased after October 1, 2016; and

- A personal money judgment in the amount of $23,396,134.00 (in that

such sum in aggregate was obtained directly or indirectly as a result of
said offenses or is traceable to such property);

The United States of America shall be entitled to forfeiture of substitute
property, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(0),
if any property that constitutes and is derived from the proceeds traceable to any
offense set forth in Counts I-IV:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. had been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided
Without difficulty.
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United States Attorney

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